Case 2:18-cv-02990-R-AFM Document 30 Filed 04/20/18 Page 1 of 4 Page ID #:96




                   UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF CALIFORNIA

 MARCO VILLADA GARIBAY , et al.

              Plaintiff(s),
                                         CASE NO:
      v.
                                         2:18−cv−02990−R−AFM
 UNITED STATES OF DEPARTMENT OF
 STATE, et al.
                                         ORDER RE: NOTICE TO
                                         COUNSEL

             Defendant(s).




  READ CAREFULLY: FAILURE TO COMPLY MAY LEAD TO SANCTIONS


      This case has been assigned to the calendar of Judge Manuel L. Real.
      Counsel are advised that the Court expects strict compliance with the
  provisions of the Local Rules and the Federal Rules of Civil Procedure.
  NONCOMPLIANCE MAY LEAD TO THE IMPOSITION OF SANCTIONS
  WHICH MAY INCLUDE THE STRIKING OF PLEADINGS AND ENTRY
  OF JUDGMENT OR DISMISSAL OF THE ACTION.



      The attention of counsel is particularly directed to Local Rule 16.
  Counsel should also be guided by the following special requirements when
  litigating cases assigned to Judge Real:

              1. INTERROGATORIES: See Local Rules.
              2. MOTIONS: Motions shall be heard on the first and third
  Monday of each month at 10:00 A.M., unless otherwise ordered by the Court.
Case 2:18-cv-02990-R-AFM Document 30 Filed 04/20/18 Page 2 of 4 Page ID #:97
  NOTICE TO COUNSEL                                                        PAGE 2


  If the Monday is a national holiday, the succeeding Tuesday shall be the
  motion day. Counsel do not need to contact the Court in this regard, as there
  is no need to reserve dates.
              3. EX PARTE APPLICATIONS: No hearing will be held unless
  deemed necessary by the Court; if the Court requires a hearing, the clerk will
  contact the parties and inform them of the date and time. In the moving
  papers' declaration of notification, the declarant shall state whether or not the
  application is opposed; if opposed, the declarant shall state that the opposing
  party was informed that it has twenty−four (24) hours from receipt of the
  papers to file its opposition. The matter will then stand submitted.
              4. CONTINUANCES: Counsel requesting a continuance must
  submit a stipulation with a detailed declaration as to the reason for the
  requested continuance or extension of time, together with a proposed order.
  Stipulations, including those for second and subsequent extensions of time
  to respond to the complaint, are effective ONLY when approved by this
  Court. Any stipulation not in compliance with this order or the Local Rules
  will automatically be denied without further notice to the parties.
              5. CONFORMED COPIES: Parties will receive conformed
  copies through the Court's CM/ECF e−filing system; or by mail, if applicable.
              6. REMOVED ACTIONS: Any answers filed in state court must
  be refiled in this Court as a supplement to the petition. Any pending motions
  must be renoticed in accordance with Local Rule 7.
              7. WAIVED LOCAL RULES: (Local Rule 16−15): Settlement
  conferences are NOT mandatory; if the parties mutually agree to the holding
  of a settlement conference, they shall contact the clerk. (Local Rule 7−3):
  parties are NOT obligated to meet and confer, or file a declaration in
Case 2:18-cv-02990-R-AFM Document 30 Filed 04/20/18 Page 3 of 4 Page ID #:98
  NOTICE TO COUNSEL                                                       PAGE 3


  connection thereto, for the purposes of preparing and filing dispositive
  motions (to dismiss, summary judgment, etc).
               8. FEDERAL RULE 26(f): This Court requires the following,
  and counsel are ORDERED to follow this outline: 30 days after the first
  appearing defendant, the parties shall hold an early meeting, in person, for
  the purpose of making initial disclosures. Plaintiff's counsel shall have the
  duty of scheduling the meeting. The parties shall then file a Joint Report of
  Early Meeting within 14 days of the holding of the Early Meeting of Counsel.
  Counsel are informed that approximately 30 days after receipt of the Joint
  Report, this Court shall issue an Order setting the dates of the Final Pre−Trial
  Conference, and the Trial of the action. This Court shall not set a "scheduling
  conference" or issue a "scheduling order" other than as set out previously
  in this section.
               9. MANDATORY COPIES OF E−FILED DOCUMENTS:
  Mandatory copies are not accepted in chambers. Copies of all e−filed
  documents shall be delivered either to the civil intake section clearly marked
  as a courtesy copy, placed in the courtesy copy in−box outside of chambers or
  sent to the Court via overnight mail, within twelve (12) court business hours
  of the time the document was e−filed. The courtesy copy shall be blue−backed
  and double−hole punched.
               10. WORD/WORDPERFECT PROPOSED ORDERS, JUDGMENTS
  OR ANY OTHER SIGNATURE ITEMS: A Microsoft Word or WordPerfect
  copy of any proposed document requiring a signature shall and must be e−mailed
  to the generic chambers e−mail address (r_chambers@cacd.uscourts.gov).
  The subject line of the e−mail shall be in the following format: court's divisional
  office, year, case type, case number, judge's initials and filer (party) name
Case 2:18-cv-02990-R-AFM Document 30 Filed 04/20/18 Page 4 of 4 Page ID #:99
  NOTICE TO COUNSEL                                                         PAGE 4


  [e.g., 2:09 CV 09876 R (Plaintiff or Defendant's name)].
              11. NOTICE OF THIS ORDER: Counsel for plaintiff, or plaintiff,
  if appearing on his or her own behalf, is responsible for promptly serving this
  notice on defendant's counsel, and filing a proof of service with the notice
  attached as an exhibit with the Court. If this case came to the Court via a
  Noticed Removal, this burden falls to the removing defendant.




 Date: April 20, 2018
                                             Manuel L. Real
                                             United States District Judge
